Case 23-11131-TMH   Doc 406-2   Filed 09/30/23   Page 1 of 8




                      EXHIBIT B

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                 Case 23-11131-TMH             Doc 406-2        Filed 09/30/23        Page 2 of 8




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11

    AMYRIS, INC., et al.,1                            Case No. 23-11131 (TMH)


                    Debtors.                          (Jointly Administered)

                                                      Docket No. 334

               ORDER (I) AUTHORIZING THE RETENTION AND EMPLOYMENT
                 OF JEFFERIES LLC AS INVESTMENT BANKER PURSUANT TO
             11 U.S.C. §§ 328(a) AND 1103(a), EFFECTIVE AS OF SEPTEMBER 1, 2023
                AND (II) WAIVING CERTAIN TIME-KEEPING REQUIREMENTS

             Upon the application (the “Application”)12 of the Official Committee of Unsecured

Creditors (the “Committee”) of the debtors and debtors in possession in the above-captioned

chapter 11 cases (the “Debtors”) for entry of an order (this “Order”), (a) authorizing the

Committee to retain and employ Jefferies LLC (“Jefferies”) as its investment banker effective as

of September 1, 2023, pursuant to the terms and subject to the conditions of the Engagement

Letter and (b) waiving and modifying certain of the time-keeping requirements of Bankruptcy

Rule 2016(a), the Trustee Guidelines, and any other guidelines regarding submission and

approval of fee applications, all as more fully set forth in the Application; and upon the

Szlezinger Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District


1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
      principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
      Suite 100, Emeryville, CA 94608.
12
      Capitalized terms used in this Order and not immediately defined have the meanings given to such terms in the
      Application.
             Case 23-11131-TMH         Doc 406-2      Filed 09/30/23     Page 3 of 8




Court for the District of Delaware, dated February 29, 2012; and this Court having found that

this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Committee consenting to

entry of a final order by the Court under Article III of the United States Constitution; and this

Court having found that venue of this proceeding and the Application in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in

the Application is in the best interests of the Committee and the Debtors’ unsecured creditors;

and this Court having found that the Committee’s notice of the Application and opportunity for a

hearing on the Application were appropriate and no other notice need be provided; and this Court

having reviewed the Application and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Application and at the Hearing

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Application is granted as set forth herein.

       2.      The Committee is authorized to retain and employ Jefferies as its investment

banker in these Chapter 11 Cases, pursuant to the terms and subject to the conditions set forth in

the Engagement Letter attached hereto as Exhibit 1, effective as of September 1, 2023, as

modified by this Order.

       3.      Except to the extent set forth herein, the Engagement Letter (together with all

annexes thereto), including without limitation the Fee and Expense Structure, are approved

pursuant to sections 1103(a) and 328(a) of the Bankruptcy Code. Subject to Paragraph 4 of this

Order, all compensation and reimbursement of expenses payable under the Engagement Letter
             Case 23-11131-TMH          Doc 406-2      Filed 09/30/23     Page 4 of 8




shall be subject to review only pursuant to the standards set forth in section 328(a) of the

Bankruptcy Code and shall not be subject to any other standard of review including, but not

limited to, that set forth in section 330 of the Bankruptcy Code.

       4.      Except to the extent set forth herein, the Engagement Letter (together with all

annexes thereto), including without limitation the Fee and Expense Structure, are approved

pursuant to sections 1103(a) and 328(a) of the Bankruptcy Code. Subject to Paragraph 5 of this

Order, all compensation and reimbursement of expenses payable under the Engagement Letter

shall be subject to review only pursuant to the standards set forth in section 328(a) of the

Bankruptcy Code and shall not be subject to any other standard of review including, but not

limited to, that set forth in section 330 of the Bankruptcy Code.

       5.      4. Jefferies shall file applications for allowance of compensation and

reimbursement of expenses pursuant to and in accordance with the procedures set forth in

sections 330 and 331 of the Bankruptcy Code, such Bankruptcy Rules or Local Rules as may

then be applicable, and any other applicable orders and procedures of this Court; provided,

however, that Jefferies shall be compensated and reimbursed pursuant to section 328(a) of the

Bankruptcy Code and that Jefferies’ fees and expenses shall not be evaluated under the standard

set forth in section 330 of the Bankruptcy Code, except that, notwithstanding any provisions to

the contrary in this Order, the Application or any of its attachments, the U.S. Trustee shall retain

all rights and be entitled to object to Jefferies’ request(s) for fees and reimbursement of

expenses, including but not limited to those set forth in interim and final fee applications, under

the standards provided in sections 330 and 331 of the Bankruptcy Code. Accordingly, nothing in

this Order or the record shall constitute a finding of fact or conclusion of law binding on the U.S.
             Case 23-11131-TMH         Doc 406-2      Filed 09/30/23    Page 5 of 8




Trustee, on appeal or otherwise, with respect to the reasonableness of Jefferies’ fees and

reimbursement requests.

       6.      5. Notwithstanding anything to the contrary in the Application or any of its

attachments, including but not limited to the Engagement Letter, Jefferies shall comply with all

requirements of Bankruptcy Rule 2016(a), and Local Rule 2016-2, including all information and

time keeping requirements of subsection (d) of Local Rule 2016-2, except that Jefferies and its

professionals shall be permitted to maintain time records of services rendered for the Committee

in half-hour increments.

       7.      6. Notwithstanding anything to the contrary in the Application or any of its

attachments, no amounts shall be paid to Jefferies absent an order of this Court approving a fee

application filed on notice to parties in interest in these Chapter 11 Cases under the procedures

set forth in any order establishing procedures for compensation and reimbursement of expenses

of professionals (the “Compensation Order”).

       8.      7. In the event that, during the pendency of these Chapter 11 Cases, Jefferies

requests reimbursement for any attorneys’ fees and/or expenses, the invoices and supporting time

records from such attorneys shall be included in Jefferies’ fee applications, and such invoices

and time records shall be in compliance with Local Rule 2016-2(f) and the U.S. Trustee

Guidelines and subject to approval of the Court under the standards of section 330 and 331 of the

Bankruptcy Code, without regard to whether such attorney has been retained under section 1103

of the Bankruptcy Code and without regard to whether such attorneys’ services satisfy

section 330(a)(3)(C) of the Bankruptcy Code. Notwithstanding the foregoing, Jefferies shall

only be reimbursed for any legal fees incurred in connection with these Chapter 11 Cases to the

extent permitted under applicable law and the decisions of this Court. Jefferies shall not receive
            Case 23-11131-TMH          Doc 406-2     Filed 09/30/23     Page 6 of 8




payment from the Debtors’ estates for any fees or costs arising from the defense of an objection

to its fees or expenses in theseek reimbursement of any fees incurred defending any of Jefferies’

fee applications in these Chapter 11 Cases.

       9.      8. The indemnification, contribution, and reimbursement provisions included in

Schedule A to the Engagement Letter are approved, subject during the pendency of these Chapter

11 Cases to the following modifications:

               a.     No Indemnified Persons (as that term is defined in Schedule A to the
                      Engagement Letter) shall not be entitled to indemnification, contribution,
                      or reimbursement pursuant to the Engagement Letter for claims arising
                      from services other than the services provided under the Engagement
                      Letter, unless such services and the indemnification, contribution, or
                      reimbursement therefore are approved by this Court;

               b.     Notwithstanding anything to the contrary in the Engagement Letter, the
                      Debtors shall have no obligation to indemnify any person or
                      entityIndemnified Person or provide contribution or reimbursement to any
                      person or entityIndemnified Person for any claim or expense that is either
                      (i) judicially determined (the determination having become final and no
                      longer subject to appeal) to have arisen from that person’s or entity’sany
                      Indemnified Persons’ gross negligence, willful misconduct, or bad faith, or
                      (ii) for a contractual dispute in which the Debtors allege breach of the
                      obligations of Jefferies or another Indemnified Person under the
                      Engagement Letter unless this Court determines that indemnification,
                      contribution or reimbursement would be permissible pursuant to In re
                      United Artists Theatre Co., 315 F.3d 217 (3d Cir. 2003), or (iii) settled
                      prior to a judicial determination as to sub-clauses (i) or (ii) above, but
                      determined by this Court, after notice and a hearing, pursuant to
                      subparagraph (d) below, to be a claim or expense for which that personthe
                      Indemnified Person should not receive indemnity, contribution, or
                      reimbursement under the terms of the Engagement Letter as modified by
                      this Order;

               c.     If, duringDuring the pendencycourse of these Chapter 11 Cases, the
                      indemnification provided in Schedule A toany limitation of liability
                      provisions or limitation on amounts to be contributed provisions in the
                      Engagement Letter is held unenforceable by reason of the exclusions set
                      forth in paragraph (b) above, and Jefferies or another Indemnified Person
                      makes a claim for the payment of any amounts by the Debtors on account
                      of the Debtors’ contribution obligations, then the limitations on Jefferies’
                      contribution obligations set forth in the second and third sentences of the
              Case 23-11131-TMH             Doc 406-2        Filed 09/30/23        Page 7 of 8




                         fifth paragraph of Schedule A shall not apply;2andor otherwise shall have
                         no force or effect; and

                 d.      If, before the earlier of (i) the entry of an order confirming a chapter 11
                         plan in these Chapter 11 Cases (that order having become a final order no
                         longer subject to appeal) and (ii) the entry of an order closing these
                         Chapter 11 Cases, Jefferies or another Indemnified Person believes that it
                         is entitled to the payment of any amounts by the Debtors on account of the
                         Debtors’ indemnification, contribution or reimbursement obligations
                         under the Engagement Letter (as modified by this Order), including,
                         without limitation, the advancement of defense costs, Jefferies or the
                         Indemnified Person must file an application before this Court and the
                         Debtors may not pay any such amounts to the Indemnified Person before
                         the entry of an order by this Court approving the payment; provided,
                         however, that for the avoidance of doubt, this subparagraph (d) is intended
                         only to specify the period of time under which this Court shall have
                         jurisdiction over any request for fees and expenses for indemnification,
                         contribution, or reimbursement and not a provision limiting the duration of
                         the Debtors’ obligation to indemnify Jefferies or any other Indemnified
                         Person. All parties in interest shall retain the right to object to the
                         allowance of any demand by any Indemnified Person for indemnification,
                         contribution and/or reimbursement (under the standards set forth herein).

        10.      Notwithstanding anything in the Application or its attachments/exhibits, during

the pendency of these Chapter 11 Cases, any provision in the Engagement Letter to the effect

that Jefferies is not acting as a fiduciary of the Committee shall have no force or effect.

        11.      Notwithstanding anything in Section 8 of the Engagement Letter, any termination

of the Engagement Letter may only be done on fourteen (14) days’ written notice from the

terminating party to the non-terminating party.

        12.      9. Notwithstanding anything in the Application or its attachments/exhibits,

Jefferies shall, to the extent that Jefferies uses the services of independent contractors,

subcontractors, or employees of foreign affiliates or subsidiaries (collectively, the “Contractors”)




2
    For the avoidance of doubt, the fifth paragraph of Schedule A to the Engagement Letter is the paragraph that
    begins, “If, for any reason….”
               Case 23-11131-TMH        Doc 406-2      Filed 09/30/23     Page 8 of 8




in these cases, (i) pass though the cost of such Contractors to the Debtors at the same rate that

Jefferies pays the Contractors; (ii) seek reimbursement for actual costs only; (iii) ensure that the

Contractors are subject to the same conflicts checks as required for Jefferies; and (iv) file with

this Court disclosures pertaining to such use required by Bankruptcy Rule 2014.

       13.      10. To the extent that there may be any inconsistency between the terms of the

Application, the Szlezinger Declaration, the Engagement Letter, and this Order, the terms of this

Order shall govern.

       14.      11. The Committee, the Debtors and Jefferies are authorized and empowered to

take all actions necessary to effectuate the relief granted in this Order in accordance with the

Application.

       15.      12. Notice of the Application as provided therein shall be deemed good and

sufficient notice of such Application and the requirements of Bankruptcy Rule 6004(a) and the

Local Rules are satisfied by such notice.

       16.      13. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Order are immediately effective and enforceable upon its entry.

       17.      14. This Court retains jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.
